                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
On November 10, 2010, the court sent the parties a Journal Entry instructing Plaintiff to file a response to Defendant's information request made in its Answer filed on October 1, 2010, by December 10, 2010. The Journal Entry advised that failure to comply with the deadlines set forth therein might result in dismissal of Plaintiff appeal.
Plaintiff's deadline has passed and Defendant has not received Plaintiff's response to Defendant's information requested in its Answer filed October 1, 2010, and the court has received no further communication from Plaintiff. As a consequence, the court finds this matter should be dismissed for lack of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter is dismissed.
Dated this ___ day of February 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the date ofthe Decision or this Decision becomes final and cannot be changed.
 This document was signed by Presiding Magistrate Jill A. Tanneron February 14, 2011. The Court filed and entered this documenton February 14, 2011. *Page 1 